Case 2:22-cv-00688-JMY Document 167-11 Filed 05/28/24 Page 1 of 5




    EXHIBIT “J”
            Case 2:22-cv-00688-JMY Document 167-11 Filed 05/28/24 Page 2 of 5


  From: GARY LIGHTMAN garylightman@lightmanlaw.com
Subject: Fwd: Activity in Case 2:22-cv-00688-JMY AMERICAN ENVIRONMENTAL ENTERPRISES INC., D/B/A
         THESAFETYHOUSE.COM v. MANFRED STERNBERG, et al Order Setting Hearing on Motion
   Date: April 25, 2024 at 11:05 AM
     To: Pat Healey phealey@rebarkelly.com



      PH, fyi

      pls get back to me by tomorrow regarding a new date for Daphna’s
      deposition

      thx
      gary Lightman
      cell 215-760-3000

        Begin forwarded message:



        Attached please find Judge Younge’s Order dated 4/25/24.




        Sincerely,
        Kim DiTomaso
        Legal Assistant
        Lightman & Manochi
        Telephone: 215-545-3000 x 107
        kditomaso@lightmanlaw.com
        Gary Lightman Cell: 215-760-3000


        **********************************************************************
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   Case 2:22-cv-00688-JMY Document 167-11 Filed 05/28/24 Page 3 of 5


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Sent: Thursday, April 25, 2024 10:46 AM
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Subject: AcDvity in Case 2:22-cv-00688-JMY AMERICAN ENVIRONMENTAL ENTERPRISES INC.,
D/B/A THESAFETYHOUSE.COM v. MANFRED STERNBERG, et al Order Se[ng Hearing on MoDon



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   Case 2:22-cv-00688-JMY Document 167-11 Filed 05/28/24 Page 4 of 5


             AMERICAN ENVIRONMENTAL ENTERPRISES INC., D/B/A THESAFETYHOUSE.COM
Case Name:
             v. MANFRED STERNBERG, et al
Case Number: 2:22-cv-00688-JMY
Filer:
Document
             165
Number:


Docket Text:
ORDER THAT COUNSELS MOTION TO WITHDRAW SHALL BE SCHEDULED
FOR A HEARING IN THE UNITED STATES DISTRICT COURT, UNITED
STATES COURTHOUSE, 601 MARKET STREET, PHILADELPHIA,
PENNSYLVANIA, ON THURSDAY, JUNE 13TH, 2024 AT 12:30 P.M. BEFORE
THE HONORABLE JOHN MILTON YOUNGE IN COURTROOM 15B, 15TH
FLOOR. COUNSEL FOR DEFENDANTS SHALL PROVIDE PROOF OF
SERVICE TO ESTABLISH THAT A COPY OF THE MOTION TO WITHDRAW
AND A COPY OF THIS ORDER SHOWING THE TIME AND DATE OF HEARING
WAS SERVED ON THE DEFENDANTS. SIGNED BY DISTRICT JUDGE JOHN
M. YOUNGE ON 4/25/24. 4/25/24 ENTERED AND COPIES E-MAILED.(amas)


2:22-cv-00688-JMY No4ce has been electronically mailed to:

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ASOLARDIAMOND, LLC


GARY WEISS
   Case 2:22-cv-00688-JMY Document 167-11 Filed 05/28/24 Page 5 of 5


GARY WEISS
680 EVERGREEN PKWY
UNION, NJ 07083

Gary Weiss

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e504a601d494acd43094ee221c2a2822104331c24a15a59161c4f28f9ﬀ8ed]]
